                      UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF NORTH CAROLINA
                           File No. 1:12-CV-1349


UNITED STATES OF AMERICA,            )
          Plaintiff,                 )
                                     ) RESPONSE IN OPPOSITION TO
                    v.               ) UNITED STATES MOTION TO
                                     ) MODIFY EXPERT DISCLOSURE
TERRY S. JOHNSON, in his official    ) DEADLINE AS TO A SINGLE
capacity as Alamance County Sheriff, ) EXPERT
              Defendant.             )
_____________________________________________________________________

       Defendant, Terry S. Johnson, in his official capacity as Alamance County

Sheriff, responds in opposition to the Motion of the United States to Modify Expert

Disclosure Deadline as to a Single Expert.

                          STATEMENT OF THE FACTS

      A Joint Rule 26(f) Report has been filed by the parties (Doc. 8), and an Order

Approving Joint Rule 26(f) Report has been entered (Doc. 9). Pursuant to the Rule

26(f) Report and Order, reports from retained experts were due on October 7, 2013.

The Court modified the discovery schedule following a joint motion of the parties to

extend the discovery schedule with simultaneous submission of expert reports on

November 8, 2013. (Doc. 32). A second joint motion to modify the expert disclosure

deadlines was filed when the United States was unable to complete its expert

disclosures by November 8, 2013. (Doc. 66). This motion was granted by the Court,

and all expert disclosures were to be made on November 15, 2013. (Doc. 67).

      The United States has now filed for a third extension for expert disclosures




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only for one of their experts. (Doc. 68). The submission of the report of Defendant’s

expert has taken place, as has the submission of two of Plaintiff’s experts.

                              QUESTION PRESENTED

       SHOULD THE THIRD EXTENSION FOR EXPERT DISCLOSURES BY
       THE UNITED STATES BE GRANTED?

                                     ARGUMENT

       The standard to determine if a scheduling order should modified has been

stated by this Court in E.E.O.C. v. Dolgencorp, LLC, 1:09CV700, 2011 WL 1260241

(M.D.N.C. Mar. 31, 2011). There this Court stated:

          Rule 16(b) provides that a “schedule may be modified only for
          good cause and with the judge's consent.” Fed.R.Civ.P. 16(b)(4)
          (emphasis added). Other courts in this Circuit have emphasized
          that the “good cause” inquiry focuses on the diligence of the
          movant seeking to alter a scheduling order. See George v. Duke
          Energy Retirement Cash Balance Plan, 560 F.Supp.2d 444, 480
          (D.S.C.2008) (“ ‘Good cause’ means that scheduling deadlines
          cannot be met despite a party's diligent efforts.”); Marcum v.
          Zimmer, 163 F.R.D. 250, 255 (S.D.W.Va.1995) (“[T]he
          touchstone of ‘good cause’ under Rule 16(b) is diligence.”). See
          also Fed.R.Civ.P. 16 advisory committee's note, 1983
          Amendment, Discussion, Subdivision (b) (“[T]he court may
          modify the schedule on a showing of good cause if it cannot
          reasonably be met despite the diligence of the party seeking the
          extension.”).

       The Plaintiff fails to show that the schedule could not be met if the expert had

used due diligence in completing the expert witness report. It should be noted that the

Defendant agreed to an extension of the period for all expert witness reports when the

Plaintiff could not originally meet its deadline. The Court granted an extension of one

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week as requested by the Plaintiff at a hearing on November 8, 2013. (Doc. 67). The

Plaintiff states in its Motion that the reason the expert could not complete her report

was due to her mother breaking her leg on October 30, 2013. It should be further

noted that there is nothing in the record to indicate that the medical emergencies

actually occurred as represented other than the motion of the Plaintiff. The Plaintiff

additionally states that the mother had surgery on November 11, 2013. Both the

breaking of the leg and ostensibly the date of the surgery were known at the hearing in

District Court. Based on the representations of Plaintiff’s counsel, the Defendant had

agreed to the second extension requested by the Plaintiff. If additional time had been

needed, it should have been requested no later than the hearing of the matter.

       While the Plaintiff now represents that there has been a second emergency, the

second emergency allegedly occurred only two days before the reports were due. If

due diligence had been used by the Plaintiff’s expert, it would appear that at least a

final draft of the report should have been completed prior to two days before the

deadline. It is not clear why it would take ten days to then submit the report. The

Defendant believes that this indicates that due diligence has not been used in

completing the report.

       Further, material to this request is that all the other expert discovery reports

have been exchanged. This gives the Plaintiff’s expert a distinct advantage in that she

has the ability to review the Defendant’s expert report prior to submitting her own. If


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the Plaintiff had not intended to give her this unfair advantage, then the request should

have been for all the expert witness reports to have been delayed by ten days.

       It should also be recognized in considering the motion for the modification of

the scheduling order that it is not clear that the person identified as Plaintiff’s expert,

Margo Frasier, can qualify as an expert in the instant case. The Plaintiff represents

that Ms. Frasier is an expert since she served as sheriff of Travis County, Texas for

seven years; works as a police monitor for the City of Austin, Texas; and previously

served as president of the Major County Sheriff’s Association. It is difficult to see

how knowledge of the policies and procedures of departments in a Texas County with

a population of over 1,000,000 could have much relevance to a county in North

Carolina where the population of the portion of the county outside of the municipal

limits where the Sheriff is the primary law enforcement agency is less than 65,000.

While it need not be determined at this time, it does not appear that the testimony of

Ms. Frasier can or will meet the requirements of Rule 702 of the Federal Rules of

Evidence and the Supreme Court’s ruling in Daubert v. Merrell Dow Pharm., Inc.,

509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993).

                                     CONCLUSION

       It does not appear that the expert witness for the Plaintiff has used due

diligence in completing her report, the filing of a late report is prejudicial to the

Defendant as the Plaintiff’s expert has the ability to review the expert witness report


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of the Defendant prior to submitting her report, and it is not clear that the witness for

the Plaintiff can qualify as an expert witness. For these reasons, the motion to modify

the scheduling order to provide for a third extension of time should be denied.

       Respectfully submitted, this the 25th day of November, 2013.

                                                  Turrentine Law Firm, PLLC


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                            CERTIFICATE OF SERVICE

       I, S. C. Kitchen, hereby certify that on November 25, 2013, I filed this

document with the U.S. District Court’s electronic Filing (ECF) system, which will

serve a copy by email to counsel, and further that for counsel who are not listed in the

ECF system, I served a copy of the foregoing document on the counsel in this action

by placing the same in the United States Mail, postage affixed:

       Michael Songer
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       This the 25th day of November, 2013.

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